CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 1 of 18




      EXHIBIT 1
   CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 2 of 18




STATE OF MINNESOTA                                                              DISTRICT COURT

COUNTY OF RAMSEY                                                  SECOND JUDICIAL DISTRICT
                                                                        Case Type: Other Civil


Elizabeth A. Sampson and Tracey A. Lane, et                 Court File No.
al.

                        Plaintiffs,
                                                       CIVIL COVER SHEET(Non-Family
 vs.                                                              Court)

 Fifth Third Bank,

                        Defendant.



Date Case Filed: June 8, 2018

This civil cover sheet must be filed by the initial filing lawyer or party, if unrepresented by legal
counsel, unless the court orders all parties or their legal counsel to complete this form. Once the
initial civil cover sheet is filed, opposing lawyers or unrepresented parties who have not already
been ordered to complete this form may submit their own cover sheet within ten days after being
served with the initial cover sheet. See Rule 104 ofthe General Rules of Practice for the District
Courts.

If information is not known to the filing party at the time of filing, it shall be provided to
the Court Administrator in writing by the filing party within seven (7)days of learning the
information. Any party impleading additional parties shall provide the same information to the
Court Administrator. The Court Administrator shall, upon receipt ofthe completed certificate,
notify all parties or their lawyers, if represented by counsel, of the date of filing the action and
the file number assigned.

ATTORNEY FOR PLAINTIFFS                               ATTORNEYS FOR DEFENDANT FIFTH
                                                      THIRD BANK

Vildan A. Teske (#241404)                             Charles (C.J.) Schoenwetter(# 025115X)
Maris C. Katz (#389709)                               David J. Carrier (#393582)
Teske, Katz, Kitzer & Rochel PLLP                     Bowman and Brooke LLP
222 South Ninth Street, Suite 4050                    150 South Fifth Street, Suite 3000
Minneapolis, MN 55402                                 Minneapolis, MN 55402
Tele: 612-824-4357                                    Tele: 612-339-8682
teske@tkkrlaw.com                                     cj.schoenwetter@bowmanandbrooke.com
katz@tkkrlaw.com                                      david.carrier@bowmanandbrooke.com


CIV117      State     ENG      05/13                                            www.mncourts.gov/forms
Page 1 of 4
19578355v1
     CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 3 of 18




Note: If either Plaintiff or Defendant gets an attorney, the attorney's name, address, telephone
number and attorney ID number must be given in writing to the Court Administrator
immediately.

1.      Provide a concise statement of the case including facts and legal basis:
        Plaintiffs allege violations of Minn. Stat. § 336.9-609, and Minnesota common law
conversion. Specifically, Plaintiffs allege that because Defendant Fifth Third Bank ("Fifth Third")
accepted late payments without sending Plaintiffs and other class members strict compliance
letters before repossession, Fifth Third has violated Minn. Stat. § 336.9-609 and Minnesota
common law prohibiting conversion. Plaintiffs allege class action allegations on behalf of a class
defined as follows:

        All Minnesota customers who, withinfour (4)years ofthefiling ofthis Complaint,
        made at least two late or partial payments in connection with loan(s) on their
        vehicle(s) that were accepted by Defendant FTB, and who were not sent a Cobb
        notice prior to FTB's initiation ofvehicle repossession or attempted repossession.

2.      Date Complaint was served: May 11, 2018
3.      For Expedited Litigation Track(ELT)Pilot Courts only: N/A — Class action which may
be removed to federal court.

        a. El the partiesjointly and voluntarily agree that this case shall be governed by the Special

             Rules for ELT Pilot. Date of agreement:

        b. El The court is requested to consider excluding this case from ELT for the following

             reasons:
        Note: ELT is mandatory in certain cases, and where mandatory, exclusion may also be
        sought by timely motion under the Special Rules for ELT Pilot.
        c. Anticipated number of trial witnesses:
        d. Amount of medical expenses to date:
        e. Amount of lost wages to date:
        f. Identify any known subrogation interests:
4.      Estimated discovery completion within 9 months from the date of this form.
5.      Disclosure / discovery of electronically stored information discussed with other party?

        X No            0 Yes, date of discussion:


CIV117      State       ENG    05/13                                            www.mncourts.gov/forms
Page 2 of 4
19578355v1
     CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 4 of 18




        If Yes, list agreements, plans, and disputes:
6.      Proposed trial start date: N/A Subject to removal to federal court
7.      Estimated trial time: N/A Subject to removal to federal court
8.      Jury trial is:
        C] waived by consent of                                  pursuant to Minn. R. Civ. P. 38.02.
                                        (specify party)

       0 requested by                                     (NOTE: Applicable fee must be enclosed)
                               (specify party)

9.      Physical/mental/blood examination pursuant to Minn. R. Civ. P. 35 is requested:

        Ei Yes           X No

10.     Identify any party or witness who will require interpreter services, and describe the services
        needed (specifying language, and if known, particular dialect):


1 1.    Issues in dispute: Liability, Damages
12.     Case Type / Category: Other Civil (NOTE: select case type from Form 23, Subject Matter
        Index for Civil Cases, appended to the Minnesota Rules of Civil Procedure).
13.     Recommended Alternative Dispute Resolution(ADR)mechanism: N/A
       (See list of ADR processes set forth in Minn. Gen. R. Prac. 114.02(a))
        Recommended ADR provider(known as a "neutral"):
        Recommended ADR completion date:
        If applicable, reasons why ADR not appropriate for this case: Subject to removal to
federal court
By signing below, the attorney or party submitting this form certifies that the above information
is true and correct.
Submitted by: s/David J. Carrier
Attorney License: #0393582
Firm: Bowman and Brooke LLP
Address: 150 South Fifth Street, Suite 300
Telephone: 612-339-8682
Date: June 8, 2018




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Page 3 of 4
19578355v1
CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 5 of 18




STATE OF MINNESOTA                                                    DISTRICT COURT

RAMSEY COUNTY                                          SECOND JUDICIAL DISTRICT


Elizabeth A. Sampson and Tracey A.                 Court File Number:
Lane, on behalf of themselves and all                    Case Type: Civil Other
other similarly situated,                                  Statutory Violation

                                Plaintiffs,
                                                              SUMMONS
V.

Fifth Third Bank,

                               Defendant.


THIS SUMMONS IS DIRECTED TO:                  Fifth Third Bank
                                              2345 Rice Street.#230
                                              Roseville, MN 55113

        1. you ARE BEING SUED. The Plaintiff has started a lawsuit against you. The
Plaintiffs Complaint against you is attached to this summons. Do not throw these papers away.
They are official papers that affect your rights. You must respond to this lawsuit even though it
may not yet be filed with the Court and there may be no court file number on this summons.
        2. YOU MUST REPLY WITHIN 20 DAYS TO PROTECT YOUR RIGHTS. You
m ust give or mail to the person who signed this summons a written response called an Answer
within 20 days of the date on which you received this Summons. You must send a copy of your
Answer to the person who signed this summons located at:
       Vildan A. Teske
       Teske, Katz, Kitze.r & Roche!,PUT
       222 South Ninth Street, Suite 4050
       Minneapolis, Minnesota 55402

        3. YOU MUST RESPOND TO EACH CLAIM. The Answer is your written response
to the Plaintiffs Complaint. In your Answer you must state whether you agree or disagree with
each paragraph of the Complaint. If you believe the Plaintiff should not be given everything
asked for in. the Complaint, you must say so in your Answer.

    4. YOU Win LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN
RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS
SUMMONS. If you do not Answer within 20 days, you will lose this case. You will not get to
CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 6 of 18




tell your side of the story, and the Court may decide against you and award the Plaintiff
everything asked for in the complaint. If you do not want to contest the claims stated in the
complaint, you do not need to respond. A default judgment can then be entered against you for
the relief requested in the complaint.
        5. LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do not
have a lawyer, the Court Administrator may have information about places where you can get
legal assistance. Even if you cannot get legal help, you must still provide a written Answer to
protect your rights or you may lose the case.
       6. ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be
ordered to participate in an alternative dispute resolution process under Rule 114 of the
Minnesota General Rules of Practice. You must still send your written response to the
Complaint even if you expect to use alternative means of resolving this dispute.


Dated: May ii, 2018                        TESKE,KATZ,
                                           KITZER & ROCHEL,PLLP



                                           Vildan A. "eske(#241404)
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                                           ATTORNEYS FOR PLAINTIFFS
CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 7 of 18




  STATE OF MINNESOTA                                                    DISTRICT COURT

  RAMSEY COUNTY                                          SECOND JUDICIAL DISTRICT

                                                       )      Case Type: Civil Other
  Elizabeth A. Sampson and Tracey A. Lane,             )      Statutory Violation
  on behalf of themselves and all others               )
  similarly situated,                                  )
                                                       )CLASS ACTION COMPLAINT
                                                       ) AND JURY DEMAND
                                Plaintiffs,            )
                                                       )
  v.                                                   )    Case No.
                                                       )
  Fifth Third Bank                                     )
                                                       )
                                Defendant.             )


                                     INTRODUCTION

  1.     Plaintiffs Elizabeth Sampson and her mother Tracey Lane bring this consumer

         class action on behalf of themselves, and all others similarly situated, as a result

         of Defendant's unlawful repossession of vehicles and conversion of personal

         property in violation of the Uniform Commercial Code, as adopted and codified

         in Minn. Stat. § 336.9-609, and Minnesota common law.

                                  PARTIES AND VENUE

  2.     Plaintiff Sampson resides at 639 4th Street West, Hastings, Dakota County,

         Minnesota 55033.

  3.     Plaintiff Lane resides at 1 103 Maple Street, Red Wing, Goodhue County,

         Minnesota 55066.

  4.     Plaintiffs are "consumer debtors," as defined by Minn. Stat. § 336.9-102(a)(22).

  5.     Defendant Fifth Third Bank (hereinafter "FTB") is a foreign financing company,

         incorporated under the laws of the State of Ohio. It is licensed to do business in
                                              1
CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 8 of 18




       Minnesota, with a registered address of2345 Rice Street #230, Roseville, Ramsey

       County, Minnesota, and regularly conducts business in Minnesota. Its principal

       place of business is located at 38 Fountain Square Plaza, Cincinnati, Ohio 45263.

  6.   Venue is proper in this Court pursuant to Minn. Stat. § 542.09 because

       Defendant's registered address is in Ramsey County, it conducts business in this

       county, and some part of the action at issue in this case occurred in this county.

                              FACTUAL BACKGROUND

                                The Auto Financing Loan

  7.   On August 15, 2014, Plaintiffs obtained a loan from Defendant FIB to finance

       the purchase of a 2007 Lincoln M.KZ (hereinafter "Vehicle"). Plaintiff Sampson

       was designated as the "Purchaser," with Plaintiff Lane designated as the "Co-

       Buyer." Plaintiffs granted FTB a security interest in the Vehicle to secure

       repayment of the loan. Plaintiffs' agreement with FTB to repay the loan required

       regular monthly installment payments due on the 29th of each month,

  8.   Because Plaintiffs incurred the debt for personal and family purposes, and

       purchased the Vehicle for personal and family purposes, the entire transaction was

       a "consumer goods transaction," as defined by Minn. Stat. § 336.9-102(a)(24).

  9.   Over the course of Plaintiffs' loan with FIB, Plaintiff Sampson made, and FIB

       accepted, a number of late or irregular payments to it, including late payments for

       the installments that were due for the months of February 2015, May 2016,

       September 2016, December 2016, February 2017, March 2017, April 2017, May

       2017, and June 2017.




                                            2
CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 9 of 18




  10.    Under Minnesota law, when a creditor has repeatedly accepted late and partial

         payments from the debtor over the course of a loan, the creditor or secured party

         m ust notify the debtor that strict compliance with the contract terms will be

         required, referred to as a Cobb notice, before the creditor can lawfully repossess

         the collateral. Cobb v, Midwest Recovery Bureau Co., 295 N.W.2d 232(Minn.

         1980).

  1 1.   The late and irregular payments were repeatedly accepted by FTB and Plaintiffs

         never received a Cobb notice.

  12.    Plaintiff Sampson filed for Chapter 7 bankruptcy protection on March 2, 2017.

         She obtained a bankruptcy discharge on May 31, 2017; however, because she

         entered into a reaffirmation agreement during the course of her bankruptcy

         proceedings, the arrears from the Vehicle loan were not discharged.



                  Defendant FTB Unlawfully Repossesses Plaintiffs' Vehicle

  13.    On July 6, 2017, Repossessors, Inc, a repossession company hired by FTB,

         arrived to tow Plaintiffs' vehicle from Plaintiff Sampson's driveway at around

         4:30 A.M.

  1 4.   Plaintiff Sampson asked for proof that the repossession was valid and was shown

         a computer with the Vehicle and her address listed. They informed Plaintiff

         Sampson that, if there were an error, the bank would return the Vehicle.

  1 5.   Plaintiff Sampson was allowed to retrieve her personal belongings from the

         Vehicle prior to the repossession.

   16.   No paperwork was given to Plaintiff Sampson at the time of repossession.

                                               3
CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 10 of 18




     PlaintUft' Communications with FTB After the Wrongful Repossession ofthe Vehicle

   1 7.   When Plaintiff Sampson attempted to gain information from FTB regarding the

          repossession, she was informed that it could notprovide information to her due to

          her bankruptcy proceedings. She was told that either Plaintiff Lane or her

          bankruptcy attorney, Greg Wald, could obtain information on the account.

   1 8.   Greg Wald thereafter spoke with a representative from FTB and was informed

          that, due to a late payment in May, the full balance of $5,832.71 would need to be

          paid to release the vehicle. Plaintiff Sampson informed Mr. Wald that she had not

          received any warning of a delinquent account or notice that the car was going to

          be repossessed.

   1 9.   Plaintiff Lane also called and spoke to a representative at Defendant FTB and was

          told a payment of $619, plus $500 for repossession fees, would bring the account

          into good standing, and that the car could then be picked up two to three days

          later. Neither Plaintiff Sampson nor Plaintiff Lane recalls receiving

          communication about the account being delinquent.

  20.     The representative for Defendant FTB also incorrectly told Plaintiff Lane that the

          debt associated with the Vehicle was discharged in Ms. Sampson's bankruptcy

          proceeding.

  21.     In fact, Ms. Sampson indicated her intent to reaffirm the Vehicle loan when she

          filed her voluntary petition for chapter 7 bankruptcy on March 2, 2017. Ms.

          Sampson. and FTB then entered into a reaffirmation agreement, and Ms. Sampson

          continued making monthly payments on the Vehicle loan.

                                               4
CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 11 of 18




  22.    Later in the afternoon of July 6, 2017, Ms. Sampson's husband, Nick Sampson,

         called FTB and spoke to a representative named Tony. Tony admitted to Mr.

         Sampson that the computer showed a payment was processed and accepted by

         FTB on July 5, the day before FTB repossessed the 'Vehicle. Tony then put Mr.

         Sampson on hold for several minutes and, when he returned, he stated that he had

         to end the call and that "he halid] said too much already." Mr. Sampson requested

         to speak to a supervisor but Tony ended the call.

  23.    Several hours later, another representative of FTB named Scott called the

         Sampsons back and told them that they would need to wire money to FTB the

         next day to avoid the car being sent to auction. During one of these calls, the

         Sampsons were told that the car would be sold the following week.

   24.   On July 7, 2017, Ms. Lane called FIB to find out the amount that would have to

         be wired. She was told that she would need to wire $619, but that FTB had

         decided to waive the repossession fees. Ms. Lane then went to a Western Union

         to wire the money to FTB to halt the transport of the car to the auction site.

  25.    On the same day, Ms. Lane called FTB to verify that Defendant was in receipt of

         the wired funds. The representative stated that an urgent designation would be put

         on the paperwork for processing to avoid the Vehicle going to auction, The

         Vehicle was not, as a result, sold at auction.As a result of Defendant's actions,

         Plaintiffs Sampson and. Lane lost use of the Vehicle during the time that it was

         held by Defendant and have suffered emotional distress, anger, anxiety,

         embarrassment, and humiliation, as well as the time they spent in attempting to

         secure possession of their vehicle again.

                                               5
CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 12 of 18




                             CLASS ACTION ALLEGATIONS

   26.   Plaintiffs Sampson and Lane bring this action individually and as a class action.

   27.   Pursuant to Minn. R. Civ. P. 23.01, 23.02(b) and 23.02 (c), Plaintiffs seek to

         certify the following class:

         All Minnesota consumers who, within four (4) years ofthefiling ofthis

         Complaint, made at least two late or partial payments in connection with

         loans) on their vehicle(s) that were accepted by Defendant FTB, and who

         were not sent a Cobb notice prior to FTB 's initiation of vehicle

         repossession or attempted repossession.

   28.   This class action satisfies all the requirements of Minn. R. Civ. P. 23.01,

         including numerosity, commonality, typicality and adequacy, as well as the

         requirements of Minn. R. Civ. P. 23.02(b) and the requirements of predominance

         and superiority under Minn. R. Civ. P. 23.02(c).

   29.   Consistent with Minn. R. Civ, P. 23.01(a), the proposed class is so numerous that

         joinder of members is impracticable. Defendant FTB is a national financial

         service provider offering financing for vehicles. They provide vehicle financing

         services to a large number of consumers who, at one time or another, fall behind

         on their monthly loan, payments and make late or partial payments to it.

   30.   There are questions of law or fact common to all member of the class, and which

         questions predominate over any question affecting only individual class

         members. Common questions oflaw or fact that will be dispositive of the claims

         of the class include, but are not limited to:




                                                6
CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 13 of 18




                A)      Whether FTB sent Cobb notices to the class following late, partial

                        or irregular payments before attempting to repossess their

                        vehicles;

                B)      Whether FIB wrongfully repossessed class members' vehicles

                        without a right of possession;

                C)      Whether FTB is liable for conversion for repossessing vehicles

                        without sending Cobb notices to class members; and

                D)       Whether FTB's policies and procedures regarding repossession of

                        vehicles complied, with requirements of Minnesota law.

   31.   Plaintiffs' claims are typical of the claims of all members of the class. Any

         defenses that Defendant may have as to the merits or damages with respect to

         Plaintiffs' claims would be applicable to all members of the class.

   32.   Plaintiffs bring this lawsuit after an extensive investigation of Defendant's

         misconduct with the intention to stop its unlawful practices and recover damages,

         including statutory penalties for themselves and for the class. Plaintiffs will

         continue to vigorously pursue relief for the class.

   33,   Plaintiffs' counsel have been certified as class counsel in a number of class

         actions enforcing consumer protection laws over the last two decades and are

         experienced in handling complex litigation. Plaintiffs' counsel are committed to

         expending the time, energy, and resources necessary to successfully prosecute

         this action on behalf of the class.

   34.   The class meets the criteria for certification pursuant to Minn. R. Civ. P. 23.02(c)

         because questions of law or fact common to members of the class will

                                               7
CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 14 of 18




         predominate over any questions affecting only individual members, and a Rule

         2.3 class action is superior to other methods for fair and efficient adjudication of

         the controversy and causes of action stated in this complaint.

   35,   Certification is also appropriate under Minn. R. Civ, P. 23.02(b) where, as here,

         Plaintiffs, on behalf of the class, are seeking systematic reform through injunctive

         relief under Rule 23.02(b), where commonality findings are based primarily on

         Defendant's conduct and which conduct is central to the claims of all class

         members, irrespective of individual circumstances.

   36.   A class action is superior to other available methods for the fair and efficient

         adjudication of Defendant's violations of law because joinder is impracticable.

         Furthermore, prosecution of separate actions by individual class members would

         create an inherent risk of inconsistent and varying adjudications, with the

         concomitant risk of the establishment of incompatible and conflicting standards

         of conduct for Defendant. In addition, a class action is likely the only economical

         way, as a practical matter, in which class members' claims will be adjudicated

         because the amounts in controversy are small enough to discourage prosecution

         of individual actions. Concentration of the litigation concerning this matter in this

         Court is desirable because if such litigation were prosecuted individually, it

         would unnecessarily cause a great multiplicity of actions. Plaintiffs foresee no

         difficulties in managing this action as a class action. Few members of the class

         are aware that Defendant's actions are unlawful and few would know to seek

         legal counsel to prosecute their claims, The class notice mechanism provides an




                                               8
CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 15 of 18




        opportunity for uninformed class members to find out about their rights and

        obtain relief where they otherwise would not.

                                  CAUSES OF ACTION

                                         COUNT I.

                            WRONGFUL REPOSSESSSION

                                MINN. STAT.§ 336.9-609

  37.   Plaintiffs Sampson and Lane incorporate by reference all of the above paragraphs

        of this Complaint as though fully stated herein.

  38.   Due to FTB's acceptance of late and/or partial payments on vehicle loans and its

        subsequent failure to send Cobb notices to Plaintiffs and the class prior to

        commencing repossession of collateral, Defendant resultantly had no present

        legal rights to possess Plaintiffs' and the class's vehicles, in violation of Minn.

        Stat. § 336.9-609, as that right has been further defined and limited by Cobb, 295

        N.W. 2d at 232 and Steichen v. First Bank Grand, 372 N.W.2d 768 (Minn. App.

        1 985).

  39.   Pursuant to Minn. Stat. § 336.9-625, Plaintiffs and the class are entitled to

        recover statutory damages in the amount of the total finance charge plus ten (10)

        percent of the amount financed on the automobile loan contracts.



                                        COUNT

                                      CONVERSION

  40.   Plaintiffs Sampson and Lane incorporate by reference all the above paragraphs of

        this Complaint as though fully stated herein.

                                              9
CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 16 of 18




  41.     FTB intentionally interfered with Plaintiffs' and the class's use of their property,

          without a claim of right, by repossessing their vehicles in violation of Minn. Stat.

          § 336.9-609, Cobb and Steichen.

  42.     Defendant FTB intentionally interfered with Plaintiffs' use of their property

          without a claim of right by ref-Using to allow Plaintiffs' possession of the vehicle.

  43.     Plaintiffs and the class suffered an absolute deprivation of their property rights

          and are entitled to recovery for the full value of the loss of the use of the Vehicle

          due to the actions of Defendant FTB.



                                   PRAYER FOR RELIEF

   WHEREFORE,Plaintiffs respectfully request that this Court enter judgment as follows:

   A.     Certifying this action as a class action on behalf of the proposed class as defined

          herein pursuant to Minn. R. Civ. P. 23, and naming the Plaintiffs as class

         representatives and the undersigned counsel as class counsel;

  B.     Finding Defendant liable for its wrongful possession of vehicles in violation of the

          Uniform Commercial Code and common law conversion;

  C.      Awarding Plaintiffs and the class statutory damages against Defendant, pursuant

         to Minn. Stat. §336.9-625;

  D.      Awarding Plaintiffs and the class damages caused by FTB's conversion of

         Plaintiffs' property;

  E.     Injunctive relief against FTB to cease its illegal repossessions and attempted

         repossessions from Minnesota consumers until it complies with sending the

         required Cobb notices; and

                                               10
CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 17 of 18




   F.     Such other and further relief, including equitable relief, as the Court deems just

          and proper.

                                JURY TRIAL DEMANDED

  Plaintiffs demand trial by jury on all counts.



  Dated: May 11, 2018                                   TESKE,KATZ,
                                                        KITZER & R CHEL,PLLP


                                                        By: s/
                                                        Vildan A. Teske (#241.404)
                                                        Marisa C. Katz(#389709)
                                                        222 South Ninth Street, Suite 4050
                                                        Minneapolis, Minnesota 55402
                                                        Tel:(612) 746-1.558
                                                        Fax:(651)846-5339
                                                        teske@tkkrlaw.com
                                                        katz@tkkr.law.corn




                                               11
CASE 0:18-cv-01622-WMW-TNL Document 1-1 Filed 06/11/18 Page 18 of 18




                                   ACKNOWLEDGEMENT

   The undersigned acknowledges that pursuant to Minn. Stat. § 549.11, subd.2, that costs,
   disbursements, and reasonable attorney and witness fees may be awarded to the opposing
   party or parties in this litigation if the Court should find that the undersigned acted in bad
   faith, asserted a claim or defense that is frivolous and that is costly to the other party,
   asserted an unfounded position solely to delay the ordinary course of the proceedings or
   to harass, or committed a fraud upon the Court.


   Dated: May 11, 2018                               By:                       le)d/LC
                                                           Vil an A. Teske(#241404)




                                                12
